                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                                      Case No. 07-CR-155

JESSE VANDENWILDENBERG,

                       Defendant.


                          ORDER DELAYING REPORTING DATE


       On January 4, 2008, the defendant was sentenced by this court and ordered to surrender for

service of sentence as directed by the U.S. Probation Office. The defendant was notified by the U.S.

Probation office that he was to surrender to the Bureau of Prisons on February 25, 2008.

       The defendant has filed a motion requesting a delayed reporting date to allow the

Government ample time to file any necessary motions including but not limited to an anticipated

Rule 35 motion.        The court granted a similar request by one co-defendant Daniel

Vandenwildenberg, Jesse’s brother, by postponing his sentencing until March. Although the

government does not object, it questions whether the court has the authority to delay the defendant’s

reporting date, having already imposed the sentence.

       The court concludes that it retains such authority, given the fact that the defendant has not

begun serving his sentence. Inherent in the authority to allow a defendant the opportunity to

voluntarily surrender to begin serving his or her sentence is the authority to delay the date on which

the sentence may commence for good cause and within reasonable limits. I find that good cause has



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been shown to delay the defendant’s reporting date and the prospect of a Rule 35 motion in the

relatively near future will not unduly delay his sentence.

       Accordingly, the court hereby GRANTS the motion to delay the defendant’s report date.

The Bureau of Prisons shall set a new date for defendant to report to begin serving his sentence on

or after April 7, 2008.

       Dated this 22nd day of February, 2008.



                                                      s/William C. Griesbach
                                                      William C. Griesbach
                                                      United States District Judge




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